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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JUDGE : Battani, Marianne 0.
DECK : S. Division Civil Deck

MARIANNE WILLIAMSON, DATE : 07/08/2004 @ 14:09:41
CASE NUMBER : 5:04CV60129
Plaintiff, QeremP- MARTANNE WILLIAMSON V B G

DILWORTH (DQH)
VS.

B.G, DILWORTH,
MAGISTRATE JUDGE VARGINIA M. MORGAN

 

Defendant.
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a) aaa!

JAFFE, RAITT, HEUER & WEISS, P.C. ABBOTT eer —
By: _R. Christopher Cataldo (P 39353) ESSHAKI & YOUNGBEOOD, PC. 3
Attorneys for Plaintiff By: Daniel G. KeeeioK (P 42875) PO}
One Woodward Ave., Ste, 2400 Attorneys for Defendant ~ _ -
Detroit, Michigan 48226 300 River Place, Suite “3000, ~ —
(313) 961-8380 Detroit, Michigan 48207-4225 on

(313) 566-2500

 

NOTICE OF REMOVAL

NOW COMES Defendant, B.G. DILWORTH, by and through his counsel, ABBOTT
NICHOLSON QUILTER ESSHAKI & YOUNGBLOOD, P.C., who files this Notice of
Removal based on the following:

1, Plaintiff, MARIANNE WILLIAMSON, filed this action in the Circuit Court for
the County of Wayne, State of Michigan, on April 2, 2004, as Case No. 04-409971 CZ, where it
is now pending.

2. Notice of Plaintiff's Summons and Complaint was received by Defendant, on
June 10, 2004, via communication from his New York counsel. Defendant was not directly

served with the Summons and Complaint.
 

 

 

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3. This Notice of Removal is filed by Defendant B.G. Dilworth within thirty (30)
days of service of the Summons and Complaint in accordance with the provisions of 28 U.S.C. §
1446. Defendant B.G. Dilworth shall file his response to the Complaint in accordance with Fed.

R. Civ. P. 81(c).

4. Plaintiff, according to her Complaint, is a resident of the state of Michigan.
5. Defendant B.G. Dilworth is a resident of the state of New York.
6. Plaintiff has alleged in the Complaint damages in excess of $1 million, exclusive

of interest and costs.

7. Because there is diversity of citizenship between the parties, and the amount in
controversy exceeds $75,000.00, this Court has jurisdiction under 28 U.S.C. § 1332.

8. Notice of this Removal has been served on counsel for Plaintiff and on the Clerk
of the Court, Wayne County Circuit Court.

9, Attached are copies of the following documents filed in the Wayne County
Circuit Court: Complaint filed by Plaintiff (Exhibit A); Notice of Filing Notice of Removal

served on counsel for Plaintiff (Exhibit B).
 

   
    
   
  

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WHEREFORE, Defendant B.G. Dilworth prays that Civil Action No. 04-409971 CZ,
pending in the Circuit Court for the County of Wayne (Michigan) be removed to the United

States District Court for the Eastern District of Michigan, Southern Division.

Dated: July So , 2004 Respectfully submitted,

ABBOTT NICHOLSON QUILTER
ESSHAKI & YOUNGBLOOD, P.C,

By: "eat A ok tC

Daniel G. Kielezewski ce 42875)
Attorneys for Defendant

300 River Place, Suite 3000
Detroit, Michigan 48207-4225
(313) 566-2500

 

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Case 5:04-cv-60129-MOB-VMM ECF No.1 filed 07/08/04 PagelD.4 Page 4of14

 
 

 

 

 

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"MARIANNE WLAMEON, .
‘Plaintiff,

vy

BG. IEWORTH, :
“‘Defenidant. -

R Christopher. Cataldo PaO
Jaffe, Raitt,. Heuer. & Wels, Pe

- Attomey for Plaintiff ©
One Waddward Ave., § ‘Ste, 2400

; (Detroit, Ml °48226
* (313) 981-8380

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STATE OF MICHIGAN

71 CZ 4102/2004
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ANNE
“Will if EA SER, it a EY

WILLIAMBON MARI
' VS
DLWoRTH BG,

JURY FEE PAD
THIS DATE:

 

COMPLAINT AND JURY DEMAND

_ [There is no other pending or resolved civil
‘action between these two parties arising out ofthe

"same transaction of occurrence as alleged in the complain

 

Case 5:04-cv-60129-MOB-VMM ECF No. 1. filed 07/08/04 PagelD. 5 Page5of14

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“IN THE CIRCUIT: COURT FOR THE coun ;

  

Plaintiff Marianna’ Williamson, ‘through her undersigned counse, complains as

‘follows’ ‘against Defendant B. S. Dilworth as follows:

1 ‘Plaintiff Marianne. Willlamson (Willarnson") is an individual residing in

‘Wayne County,’ Michigan.

2 Deféndant B. G, Dilworth (Dilworth) | is an indlvidual residing in the state af

‘New’ York.

3. _Ditwort Is subject to ‘personal Jurisdiction in. Michigan purstuant ‘to MCL

600. 705 et. 504, as he feguiarly and systematically conducts ahd transacts business

within the state of Michigan, and because he has caused acts and ‘events ‘to occur |

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which have caused tortious and other economic injuries to persons located in the state ;
‘of Michigan. | .

| 4, The. amount in controversy exceeds $25,000 exclusive of interest and
costs. ‘Venue is proper in this Court. | | |

5. Williamson’ Is an author who retained Authors & Artists: Group, Inc, CAA")

.and its principals, .Al Lowman (“Lowman”) and Dillworth, as her. therary agents “to

represent her in connection with her contracts with various: publishers, .In connection’

‘therewith, AA was:to tetain-no more than 15% of Plaintiff's royalties .as their payment in?

“full ‘for services rendered on, behalf of Williamson. Pursuant to this agreement, AA.
‘began coliacting ‘royalties .on Williamson's behalf from various publishers. Defendant

Dilworth is.ari employee, agent, and principal of AA who was extensively involved with —

her account as well asthe operations and finances of AA, as he ran ‘the business ‘for

extended: periods, such as when Lowman was away.

6. Unbeknownst to Williamson, AA received numerous _Toyalty payments _ .

‘from various. publishers on. her behatf and converted ‘for themselves ‘the . proceeds of

100% of those payments.and-failed or refused to remit payments to Williamson the B5%
balance ‘that she was. to receive. Defendant Dilworth played an active role In-this ‘plan |
and scheme ‘to ‘defraud Plaintiff to such an extent that it could not have been
accomplished without him. Dilworth and AA fraudulently concealed: thelr activities. ‘Not
only ‘did Dilworth and AA ‘fall to disclose the royalty. payments to Williamson, they also
lied ‘to ‘her ,accountant about them, telling her that ‘they had received no royatty

payments from publishers, when in fact they were recaiving substantia! payments:

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Case 5:04-cv-60129-MOB-VMM ECF No. 1 filed 07/08/04 PagelD.7 Page7ofi4 —

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7. Dilworth aided and facilitated AA's conversion and diversion of her funds,
which was done intentionally and deliberately with the express purpose of defrauding
Williamson ‘by denying her possession of her. rightful property and- money 50 that AA
could convert itto its own-use. ‘Dilworth actively. and/or passively worked’to divert these |
‘funds for the ; ‘benefit of ‘Lowman .and AA, who could not have accomplished their
scheme without him, The amount of the theft exceeds $1 million. . .

“B. ‘Wiliamson: recently discovered the theft by chance. Despite. demand, AA |
‘failed of refused to pay Williamson the amount ‘full amount owed, although one partial

‘ payment has. baen made by AA, However, as of: this. date, Williamson. Is still owed in |

 

excass of $1 million.due to’ Dilworth's participation in the: fraud,
| COUNT!
9, ‘Paragraphs ‘I-through 8 are incorporated by reference.

- Dilworth represented Williamson in an agency capacity, and as such owed

 

‘to her the: duty of loyatty and disclosure of a fiduciary.
‘t1. tn violation of his fiductary duty, :the Defendant has defrauded Williamson

 

> JAFFE BAIT? H2VER & weiss, Pe...

by knowingly, intentionally and Traudulently retaining for AA. ‘the funds collected on
Witliamson’ s behalf which Ditworth-knew or should’ have. known should have been paid
to Williamson.

. 12, | _ Dilworth ‘further ‘violated his fi iduciary dutles to Wittamson by falling to
disclose his activities, and ‘by lying ‘to ‘her and her accountant for the purpose of

concsaling his and AA‘s actions from her,

" ybgnayt.or , 3

7” . . ‘ ?

 

 

 

 
 

 

 

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JARFE BAIT: Heke h Weisd. BS.

13. Williamson has been damaged by the Defendants’ breach of fi iduclary duty

by an amount in excess of $1,000,000, ‘plus Interest, costs and attorney toss, or such

other amount.as determined. at teal.

‘COUNT It

44, Paragraphs +1 through 13 are Incorporated by reference.

‘15, Dilworth's conduct as described above constitutes fraud, Dilworth has
committed fraud-for the purpose of enriching AA at Williamson's expense. -

16, .As a result of ‘the Defendant's fraudulent acts, ‘Williamson ‘has. been |.
damaged by an amount In.excess of $1. million. |

| | COUNT
47. ‘Paragraphs 1 through 16 are incorporated by reference. |
18. Dilworth’s conduct as described above constitutes a breach of contract.

19.  Willlamson-has been damaged by the breach of contract by an amount |

excaeding $1 million.

COUNTIV
20. ‘Paragraphs 4 through 19 are incorporated by reference.
21. ‘Defendant Dilworth ‘aided, faciitated and knowingly cooperated with

Lowman and AA to exercise unauthorized. dominion and control over the property of

Willlamson.
22. Lowman and AA have converted the property of Wiliarnson by refusing to |
return her property upon demand.

23, Defendant Dilworth is liable for statutory and comrfion law conversion for

“his, role in factitating the conversion committed by Lowman and.AA, and Is lable: for

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-Case 5:04-cv-60129-MOB-VMM ECF No.1 filed 07/08/04 PagelD.9 Page 9 of 14
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three timas the actual damages incurred by Williamson as a result of thelr conversion of
- her property by statute. | |
WHEREFORE, Williamson requests the fllowing teliaf;
A) | The entry ofa money Judgment In her favor and against the ,
Defendant.in such amount as determined

‘at tra! exceeding $1,000,000,‘or such other amount as Is
Gatermined, plus an award of interest, costs and attorney fees; and

B). - An award of three times actual damages against Defendant,
-plus interest, costs and attomey fees; and

C) ~« An award of.exemplary dameges agalnst'‘Defendant due to the a,
outrageous nature of the conduct; and | .

D) Such other rellef In Williamson’ Ss favor to whieh she is: entile 2 at faw.or in
equity, o ; .

JURY DEMAND
PLAINTIFF HEREBY DEMANDS TRIAL BY JURY. |

 

Jatfe, Raitt, Heuer & Weiss, PC
Attorney for Plaintiff.
‘One Woodward -Ave., Ste. 2400
Detroit, ‘MI 48226

Dated: April 2,.2004 - (313) 964-8380

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STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE

MARIANNE WILLIAMSON,
Plaintiff,
VS.
B.G. DILWORTH,

Defendant.

Case No. 04-409971 CZ
Hon. Louis F. Simmons, Jr.

 

JAFFE, RAITT, HEUER & WEISS, P.C.

By: _ R. Christopher Cataldo (P 39353)
Attorneys for Plaintiff

One Woodward Ave., Ste. 2400

Detroit, Michigan 48226

(313) 961-8380

ABBOTT NICHOLSON QUILTER
ESSHAKI & YOUNGBLOOD, P.C.
By: Daniel G. Kielezewski (P 42875)
Attorneys for Defendant

300 River Place, Suite 3000

Detroit, Michigan 48207-4225

(313) 566-2500

 

NOTICE OF FILING NOTICE OF REMOVAL

PLEASE TAKE NOTICE that B.G. DILWORTH, Defendant in the above-captioned

matter, has this date filed a Notice of Removal in the United States District Court for the Eastern

District of Michigan, Southern Division, thereby removing the above-captioned matter to said

Court. A copy of the Notice of Removal and Affidavit of Service are attached hereto as Exhibit

A.

Dated: July_& , 2004

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Respectfully submitted,

ABBOTT NICHOLSON QUILTER
ESSHAKI & YOUNGBLOOD, P.C.

By: TRA ADL

Daniel G. Kielezewski*(P 42875)
Attorneys for Defendant

300 River Place, Suite 3000
Detroit, Michigan 48207-4225
(313) 566-2500

 

 

 

 
 

 

- Case 5:04-cv-60129-MOB-VMM ECF No. 1 filed 07/08/04 PagelD.12 Page 12 of 14

ORIGINAL

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
MARIANNE WILLIAMSON, JUDGE : Battani, Marianne 0.
DECK : S. Division Civil Deck
Plaintiff, DATE : 07/08/2004 @ 14:09:41

CASE NUMBER : 5:04CV60129
CNP MARIANNE WILLIAMSON V B G
VS. DILWORTH (DOH)

B.G. DILWORTH,

 

Defendant. MAGISTRATE JUDGE VIRGINIA M. MORGAN
JAFFE, RAITT, HEUER & WEISS, P.C. ABBOTT NICHOLSON QUILTER
By: _ R. Christopher Cataldo (P 39353) ESSHAKI & YOUNGBLOOD, P.C.
Attorneys for Plaintiff By: Daniel G. Kielezewski (P 42875)
One Woodward Ave., Ste. 2400 Attorneys for Defendant
Detroit, Michigan 48226 300 River Place, Suite 3000
(313) 961-8380 Detroit, Michigan 48207-4225

(313) 566-2500

 

DECLARATION OF SERVICE

 

Daniel G. Kiclezewski declares and says that he is not a party to the above-entitled action
and that on the at day of July, 2004, he served a copy of the attached Notice of
Removal, and this Declaration of Service upon:

R. Christopher Cataldo, Esq.
JAFFE, RAITT, HEUER & WEISS, P.C.
One Woodward Ave., Ste. 2400
Detroit, Michigan 48226
by placing said documents in properly-addressed envelopes, first class mail, and having same

deposited in the receptacle for United States Mail.

I declare under penalty of perjury that the foregoing is true and correct.

son G. Kiclezewski i

Exccuted on July &, 2004.

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Case 5:04-cv-60129-MOB MIN SCF No. 1 fileQ07/99/04, Ginn “ORTGINAL

JS 44 11/99 CIVIL COVER SHEET counry in wuich THIs ACTION arose: New York

The JS-44 civil cover sheet and the information contained hereln neither replace nor supplement the filing and service of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, Is required
DEFENDANTS

for uso of the Clerk of Court for the purpose of Initiating the civil docket sheat.
|. (a) PLAINTIFFS 0) Aw 6 0 195 0
Marianne Williamson B.G, Dilworth - . ,
JUDGE MARIANNE 0. BATTANI
GISTRATE ldaGiayicyy

NOTE: IN LAND CONDEMNATION cet MOR GT Ty
LAND INVOLVED.

Attomays (If Known)

Daniel G. Kielezewski (P 42875)
300 River Place, Suite 3000
Detroit, Michigan 48207-4225

Ill, CITIZENSHIP OF PRINCIPAL PARTI
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{b) County of Residence of First Listod Wayn c

ALIG >

(C)} Attorney's (Firm Name, Address, and Telaphone Number}

R. Christopher Cataldo (P 39353)

One Woodward Ave., Suite 2400

Detroit. Michican 48226

Il. BASIS OF JURISDICTION (Place an *x" in One Box Only)

 

 

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REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS © 864 SSID Title XVI O a95 Freetom of
O 730Labor/Mgmt Reporting (2) 855 RSI (405(g)) information Act
O 240Land Condemnation [O 444 Voting © 510 Motions to Vacate & Disclosure Act C] 900 Appeal of Fee
O 220 Foraclosuro 0D 442 Employment Sentenca C 740 Railway Labor Act FEDERAL TAX SUITS termination Under
ED 230 Rent Lease & Ejectment |) 443 Housing! Habeas Corpus: C1 870 Taxes (US. Plaintiff Equal Accase to Justice
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Reopened
Vi. CAUSE OF AC ON (Cite, the U.S, Givil Statute undar which you ara a} and write brief statament of cause.

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The Court has jurisdiction pursuant to 28 USC § 1332.
Vil. REQUESTED IN

 

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C CHECK IF THIS IS A CLASS ACTION SDEMAND CHECK YES bnly if demanded In ferent

 

COMPLAINT; SNDERER CE 23 ee JURY DE 0) ves No
Vill, RELATED CASE(S) instuctions) —_
IF ANY DOCK
NUMBER

 

 

 

DATE

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SIGNATURE OF ATTORNEY OFRECORD
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.Is-this -a:case that-has been previously discontinued or dismissed?

If yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

. Other than stated above, are there any pending or previously discontinued

or dismissed companion cases in this or any other court, including state
court? {Companion cases are matters in which it appears substantially
similar evidence will be offered or the same or related parties are present
and the cases arise out of the same transaction or occurrence.)

If yes, give the following information: -

Court:

 

Case No.

 

 

Judge:

O YES

 

 

 

Notes:

 
